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                                                         EXHIBIT C

                             COMPENSATION BY WORK TASK CODE FOR SERVICES
                     RENDERED BY BAKER & HOSTETLER LLP FOR THIRTY-SIXTH INTERIM PERIOD
                                OF DECEMBER 1, 2020 THROUGH MARCH 31, 2021



              Task/Matter Name                                               HOURS             AMOUNT
01            Trustee Investigation                                            7,849.90          5,358,120.70
02            Bankruptcy Court Litigation and Related Matters                    492.70            356,378.00
03            Feeder Funds                                                        54.50             45,417.20
05            Internal Office Meetings with Staff                                396.30            222,203.60
07            Billing                                                            865.30            372,047.10
08            Case Administration                                              2,104.60          1,002,052.30
11            Press Inquires and Responses                                       128.30            107,169.00
12            Document Review                                                 16,010.10          4,930,649.90
13            Discovery - Depositions and Document Productions                 1,094.30            435,306.10
14            International                                                      348.20            206,083.00
18            Auditors                                                             4.00              4,208.00
20            Governmental Agencies                                                6.30              6,555.40
21            Allocation                                                          65.80             62,059.20
000005        Customer Claims                                                    882.10            627,356.90
000007        Madoff Family                                                      229.20            176,747.40
000009        Fairfield Greenwich                                              3,649.70          2,871,073.00
000029        Rye/Tremont                                                        660.40            399,518.80
000030        HSBC                                                             2,801.00          2,103,088.90
000032        LuxAlpha/UBS                                                     1,805.40          1,388,264.10
000033        Nomura Bank International PLC                                      764.20            505,245.80
000034        Citibank                                                           122.70            102,983.00
000035        Natixis                                                            669.80            479,651.20
000036        Merrill Lynch                                                       97.00             71,024.90
000053        Magnify                                                          3,996.00          2,635,049.10
000059        Stanley Shapiro                                                     47.40             38,954.00
000060        Avellino & Bienes                                                4,331.80          3,310,981.90
000062        Subsequent Transfer                                              6,536.80          4,471,403.20
000063        Counsel to the SIPA Trustee re: BLMIS v. Citrus Investment H       124.90            109,192.20
000065        Legacy Capital Ltd                                               1,577.10          1,178,715.10
000071        Square One                                                       2,376.50          1,283,541.40
000073        BNP Paribas                                                        261.30            165,114.10
000075        Good Faith 5A (Cohmad Referred Accounts)                           217.50            156,124.20

Grand Total                                                                    60,571.10         35,182,278.70

              Less 10% Public Interest Discount                                                  (3,518,227.87)

              Grand Total                                                                  $     31,664,050.83
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       Task/Matter Name                                             HOURS           AMOUNT


       Current Application
       Interim Compensation Requested                                         $       31,664,050.83
       Interim Compensation Paid                                                     (28,497,645.75)
       Interim Compensation Deferred                                          $        3,166,405.08



       Prior Applications
       Interim Compensation Requested                                         $     1,282,372,888.98
       Interim Compensation Paid                                              $    (1,264,962,602.99)
       Interim Compensation Deferred                                          $        17,410,285.99
